                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR07-4056-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                 ON MOTION TO SUPPRESS
 MICHAEL INGRAM,
               Defendant.
                                ____________________


        The defendant Michael Ingram is charged with conspiracy to distribute and
possession with intent to distribute 50 grams or more of “crack cocaine,” in violation of
21 U.S.C. § 841(a)(1) & (b)(1)(A). See Doc. No. 23, Superseding Indictment. On
October 29, 2007, Ingram filed a motion to suppress evidence seized from his person in
the course of a traffic stop, and any statements he made prior to the time he was advised
of his rights pursuant to Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed. 2d
694 (1966). In addition, should the court determine Ingram’s motion should be granted
as to the items seized during the traffic stop and any pre-Miranda statements, then Ingram
seeks to suppress evidence seized during execution of a search warrant at his residence.
He claims the warrant was issued in reliance on the items seized from his person and his
pre-Miranda statements, and without this evidence, there was no probable cause for
issuance of the warrant. See Doc. No. 32. The plaintiff (the “Government”) resisted the
motion on November 20, 2007. Doc. No. 57.
        As directed in the trial management order, see Doc. No. 13 § IV, the undersigned
held an evidentiary hearing on Ingram’s motion on November 27, 2007. Assistant U.S.
Attorney Shawn Wehde appeared on behalf of the Government. Ingram appeared in
person with his attorney Alan G. Stoler. The Government offered the testimony of
Tri–State Drug Task Force Officers Terry Kenny and Brad Downing. The following


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exhibits were admitted into evidence, to-wit: Gov’t Ex. 1 – a VHS videotape of a traffic
stop on August 7, 2007, involving a vehicle in which Ingram was a passenger; Gov’t Ex. 2
– a Dakota County, Nebraska, Search Warrant, supporting Affidavit, and Return and
Inventory, consisting of seven pages; and Gov’t Ex. 3 – a DVD containing video of two
interviews of Ingram at the Law Enforcement Center in South Sioux City, Iowa, on
August 7-8, 2007.
      The record is now closed and the court turns to consideration of Ingram’s motion
to suppress.


                                   Background Facts
      For at least several months prior to August 2007, TFO Brad Downing had been
compiling information received from various sources about possible drug trafficking at a
particular apartment in South Sioux City, Nebraska. Among other things, he had done
surveillance of the apartment during which he observed short-term, come-and-go traffic
consistent with drug trafficking. See Gov’t Ex. 2, p. 5, and TFO Downing’s hearing
testimony.
      On August 7, 2007, at about 5:00 p.m., TFO Downing had just arrived home when
he received a phone call from a confidential informant (“CI”). The CI had provided
reliable information to TFO Downing and other Task Force officers in the past, and the
CI previously had given TFO Downing information regarding drug activities at the
apartment in question. On this occasion, the CI stated he/she was present at the apartment
with some other individuals, and a large quantity of crack cocaine was present in the
apartment. The CI stated there were at least three adult black males at the apartment.
      TFO Downing contacted TFO Shawn Jensen and asked him to prepare a search
warrant for the apartment. TFO Downing next contacted TFO Carl Ragar and TFO Terry
Kenny. He gave the officers a brief overview of the investigation, and stated he had


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information that individuals were distributing crack cocaine from the apartment. He asked
officers Ragar and Kenny to initiate surveillance of the apartment pending issuance of a
search warrant. TFO Kenny contacted Nebraska State Trooper Dail Fellin and asked him
to be present in the general area of the apartment complex in case his assistance was
needed. The Task Force officers were in plain clothes in an unmarked vehicle, while
Trooper Fellin was in uniform and driving a marked unit with emergency lights. Officers
Kenny and Ragar proceeded to the apartment complex and began their surveillance of the
apartment in question, keeping track of individuals entering and leaving the apartment.
They knew that at least three adult black males were supposed to be present in the
apartment, but they did not know the identities of any of the individuals nor did they know
which individuals were specific targets of the investigation. In addition, TFO Downing
had informed them that one of the individuals in the apartment had been observed in
possession of a firearm.
       Officers Kenny and Ragar saw two adult black males and a small child exit the
apartment and get into a vehicle. When the vehicle drove away, the officers followed and
observed a burned-out tail light. They contacted Trooper Fellin and asked him to initiate
a traffic stop of the vehicle for the tail light violation. Trooper Fellin was close to the
location and accomplished the traffic stop within a few minutes. Officers Kenny and Ragar
parked their vehicle behind Trooper Fellin’s vehicle. Trooper Fellin approached the
driver’s side of the vehicle and asked the driver to exit and step to the rear of the vehicle.
At the same time, TFO Kenny approached the passenger’s side of the vehicle and asked
the passenger, later identified as the defendant Michael Ingram, to exit and step to the front
of the vehicle. TFO Kenny was wearing a thigh holster for his firearm, and as he walked
toward the vehicle and talked with the Ingram, he appears to have his hand resting on his
firearm. See Gov’t Ex. 1. The court finds TFO Kenny did not draw his weapon during
the traffic stop.


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         After Ingram moved to the front of the vehicle, TFO Kenny asked him to place his
hands on the hood of the vehicle. He then asked Ingram if he was in possession of
anything that would get him into trouble. TFO Kenny testified he asks that type of
question on a routine basis for purposes of officer safety. In this case, he had Ingram
place his hands on the hood of the vehicle and he asked the question because of the report
that someone in the apartment might be in possession of a firearm. Ingram responded that
he had some marijuana in his pants pocket. TFO Kenny placed Ingram under arrest for
possession of marijuana, patted him down incident to the arrest, and located some
marijuana and crack cocaine in his right front pants pocket.
         Ingram was transported to the Law Enforcement Center in South Sioux City,
Nebraska, where he was placed in an interview room. Task Force officers advised Ingram
of his Miranda rights, and then interviewed him for about half an hour. At the beginning
of the interview, prior to advising Ingram of his rights, the officers explained to Ingram
how the federal system works and how he might benefit from cooperating with the
officers. Ingram made one statement about his personal use of drugs, and the officers
immediately stopped him, telling him that before he said anything else, they wanted to
advise him of his rights. See Gov’t Ex. 3.
         Based on information provided by the CI, and on Ingram’s possession of controlled
substances, a Dakota County, Nebraska, search warrant was issued for a search of
Ingram’s residence. During the search, officers located drugs, items consistent with drug
distribution, and several thousand dollars in U.S. currency. See Gov’t Ex. 2, p. 1.
Several hours after Ingram’s first interview, officers returned to the interview room and
found Ingram asleep on the floor. They awakened him, told him what they had found
during the search of his residence, and interviewed him for about ten minutes. The
officers did not advise Ingram of rights again during this second interview. See Gov’t
Ex. 3.


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                                       Discussion
       Ingram argues TFO Kenny’s question to him at the scene of the traffic stop
regarding whether he was in possession of anything that could get him into trouble was
improper. He argues (1) the question was beyond the scope of the simple traffic stop for
a tail light violation; (2) the question was asked by an officer who had his hand on his
sidearm, and who had Ingram leaning over with his hands on the vehicle’s hood; and (3)
under the circumstances, Ingram was in custody and should have been advised of his rights
before the question was asked. As a result, Ingram moves to suppress the evidence seized
from his person and his residence as fruit of the poisonous tree.1
       The United States Supreme Court long has recognized that custodial interrogations
are inherently coercive. See Dickerson v. United States, 530 U.S. 428, 435, 120 S. Ct.
2326, 2331, 147 L. Ed. 2d 405 (2000). As a result “Miranda imposed on the police an
obligation to follow certain procedures in their dealings with the accused.” Moran v.
Burbine, 475 U.S. 412, 420, 106. S. Ct. 1135, 1140, 89 L. Ed. 2d 410 (1986). Those
procedures include fully apprising a suspect of his rights prior to any questioning.
Miranda, 384 U.S. at 468-70, 86 S. Ct. at 1624-26.          The Miranda Court defined
“custodial interrogation” as “questioning initiated by law enforcement officers after a
person has been taken into custody or otherwise deprived of his freedom of action in any
significant way.” Miranda, 384 U.S. at 444, 86 S. Ct. at 1612.
       The question here is whether Ingram was “in custody” at the time TFO Kenny
asked if he was in possession of anything that could get him into trouble. “If a motorist
who has been detained pursuant to a traffic stop thereafter is subjected to treatment that
renders him ‘in custody’ for practical purposes, he will be entitled to the full panoply of

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        Ingram does not challenge the traffic stop itself, nor would such a challenge be
successful; officers could stop the vehicle for the traffic violation, even if the stop was
pretextual. See United States v. Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998) (“Any traffic
violation, even a minor one, gives an officer probable cause to stop the violator.”)

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protections prescribed by Miranda.” Berkemer v. McCarty, 468 U.S. 420, 440, 104 S. Ct.
3138, 3150, 82 L. Ed. 2d 317 (1984) (citing Oregon v. Mathiason, 429 U.S. 492, 495,
97 S. Ct. 711, 714, 50 L. Ed. 2d 714 (1977) (per curiam)). The question of whether a
suspect has been taken into custody often is a difficult one. Id. The “determination of
custody depends on the objective circumstances of the interrogation, not on the subjective
views harbored by either the interrogating officers or the person being questioned.”
Stansbury v. California, 511 U.S. 318, 323, 114 S. Ct. 1526, 1529, 128 L. Ed. 2d 293
(1994). Ultimately, the court must determine whether Ingram’s freedom of movement was
restrained to “the degree associated with a formal arrest.” Id., 511 U.S. at 322, 114
S. Ct. at 1529.
      The Supreme Court has found that a “usual traffic stop is more analogous to a so-
called ‘Terry stop,’ . . . than to a formal arrest.” Berkemer, 468 U.S. at 439, 104 S. Ct.
at 3150 (citing Terry v. Ohio, 392 U.S. 1, 88 S. Ct. 1868, 20 L. Ed. 2d 889 (1968)). As
a result, an officer may ask “a moderate number of questions” to determine the identity
of a vehicle’s occupants and “to obtain information confirming or dispelling the officer’s
suspicions.” Id. The person is not required to respond, and must be released unless
answers to the officer’s limited questioning provide probable cause for arrest. Id. Terry-
type detentions are comparatively nonthreatening, and the Court has held “[t]he similarly
noncoercive aspect of ordinary traffic stops prompts us to hold that persons temporarily
detained pursuant to such stops are not ‘in custody’ for the purposes of Miranda.” Id., 468
U.S. at 440, 104 S. Ct. at 3150.
       Eighth Circuit holdings are in agreement. In particular, the Eighth Circuit has held
that simply because “a reasonable person would not feel free to leave” does not mean he
is “in custody” for Miranda purposes. “One is not free to leave a Terry stop until the
completion of a reasonably brief investigation, which may include limited questioning. But
most Terry stops do not trigger the detainee’s Miranda rights.” United States v. Pelayo-


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Ruelas, 345 F.3d 589, 592 (8th Cir. 2003). In the present case, as in Pelayo, information
from a confidential informant suggested a possible threat to officer safety. Nevertheless,
a single officer approached Ingram and asked him one question designed to protect the
officer’s safety during the traffic stop. Under these circumstances, the court finds Ingram
was not in custody, and his response to TFO Kenny’s question prior to Ingram’s arrest
should not be suppressed. See id.
       Notably, the Government’s attorney specifically represented to the court at the
hearing that no statements made by Ingram between the time of his arrest and the time he
was advised of his rights will be offered into evidence at the trial of this case. Thus,
Ingram’s motion to suppress should be granted as to any statements made during that time
period.
       Ingram’s challenge to the search warrant requires little discussion. The warrant
application detailed the information provided by the CI regarding drugs the CI had seen
just a few hours earlier inside the apartment, as well as previous information regarding
drug trafficking from the apartment. The application also provided information to establish
the CI’s credibility, as well as the affiant’s training and experience in narcotics
investigations. Even without Ingram’s pre-arrest statement and the evidence seized from
his person, the warrant affidavit contained sufficient evidence for a reasonable magistrate
to find probable cause to issue a warrant to search the apartment. See Illinois v. Gates,
462 U.S. 213, 238, 103 S. Ct. 2317, 2332, 76 L. Ed. 2d 527 (1983) (“The task of the
issuing magistrate is simply to make a practical, common-sense decision whether, given
all the circumstances set forth in the affidavit before him, . . . there is a fair probability
that contraband or evidence of a crime will be found in a particular place.”). Ingram’s
motion to suppress the evidence seized during execution of the search warrant should not
be suppressed.




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      For these reasons, the undersigned respectfully recommends that Ingram’s motion
to suppress be granted in part and denied in part, as set forth above.
      Any party who objects to this report and recommendation must serve and file
specific, written objections by December 5, 2007. Any response to the objections must
be served and filed by December 12, 2007.
      IMPORTANT NOTE: Any party planning to lodge any objection to this report
and recommendation must order a transcript of the hearing promptly, not later than
November 29, 2007, regardless of whether the party believes a transcript is
necessary to argue the objection. If an attorney files an objection to this report and
recommendation without having ordered the transcript as required by this order, the
court may impose sanctions on the attorney.
      IT IS SO ORDERED.
      DATED this 28th day of November, 2007.




                                         PAUL A. ZOSS
                                         CHIEF MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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